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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 BRYAN WAYNE CRAWLEY,                                   Case No. 2:17-cv-02086-RFB-CWH

 4                                      Petitioner,                     ORDER

 5 v.

 6 BRAD CAIN, et al.,

 7                                   Respondents.

 8         Petitioner Bryan Crawley having filed a motion for enlargement of time (fourth request)

 9 (ECF No. 71), and good cause appearing;

10         IT IS THEREFORE ORDERED that Petitioner’s motion for enlargement of time (fourth

11 request) (ECF No. 71) is GRANTED nunc pro tunc. Petitioner will have up to and including

12 January 8, 2024, to file his reply in support of his second-amended petition.

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14         Dated: October 23, 2023

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                                                            RICHARD F. BOULWARE, II
16                                                          UNITED STATES DISTRICT COURT

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